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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
               v.                                :   Crim. No. 21-CR-572 (CRC)
                                                 :
JOSHUA DRESSEL,                                  :
                              Defendant.         :


                      UNITED STATES’ MEMORANDUM REGARDING
                    STATUS OF DISCOVERY AS OF SEPTEMBER 14, 2021

       The United States files this memorandum for the purpose of describing the status of

implementation of our discovery plan in relation to voluminous sets of data that the government

collected in its investigation of the Capitol Breach cases, among which may be interspersed

information the defense may consider material or exculpatory. The materials upon which this

memorandum is focused include, for example, thousands of hours of video footage from multiple

sources (e.g., Capitol surveillance footage, body-worn-camera footage, results of searches of

devices and Stored Communications Act accounts, digital media tips, Parler video, and

unpublished news footage), and hundreds of thousands of investigative documents including but

not limited to interviews of tipsters, witnesses, investigation subjects, defendants, and members of

law enforcement.

                     Capitol Breach Defense Discovery Liaison Established

       The Federal Public Defender for the District of Columbia (“FPD”) has agreed to serve as

the Discovery Liaison for defense counsel in Capitol Breach cases. FPD will be the common point

of contact between yjr Department of Justice, the U.S. District Court for the District of Columbia,

the Administrative Office of U.S. Courts, Defender Services Office, and defense counsel.
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                          Status of Defense Access to Discovery Databases

       As noted in our Memorandum Regarding Status of Discovery as of August 23, 2021 (the

“August 23 Memo”), incorporated herein by reference, under our discovery plan, we will use two

primary platforms to process and produce discoverable voluminous materials, evidence.com for

voluminous digital media materials (e.g., body-worn-camera footage and U.S. Capitol Police

(“USCP”) surveillance footage) and Relativity for documents (e.g., items such as law enforcement

investigation files and business records). Further, we will ensure that all Capitol Breach legal

defense teams will have access to the same platforms, including technological functionality

commensurate to that available to the government, for the purpose of receiving and reviewing

discoverable materials.

                                           Evidence.com

       On September 3, 2021, the United States modified its contract with Axon Enterprise, Inc.

(“Axon”), our evidence.com vendor. Pursuant to the modification, the government has funded a

Capitol Breach defense instance of evidence.com and purchased licenses that will enable legal

defense teams to gain access to the database. The defense instance is managed and administered

by FPD, and the government has no ability to log into or retrieve information from the defense

instance. FPD is currently working with Defender Service’s National Litigation Support Team to

create a structure for distributing and tracking Axon licenses for defense counsel. As we stated in

our previous memo, defense counsel can share evidence from the defense instance with individual

defendants using a cloud-based file-sharing service offered by Axon called my.evidence.com.

       As a result of September 3, 2021 contract modifications, we are now technologically able

to share approximately 2,300 hours of body-worn-camera videos to the defense instance of

evidence.com. To ensure this enormous production is organized and meaningful for the defense,



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we are currently categorizing and tagging the videos. Further, to ensure that the videos (which

display approximately 1,000 assaults upon officers and include occasional references to personal

identifying information) are adequately protected, we are also exploring whether it is

technologically possible for downloading to be automatically suppressed when video is shared by

defense counsel to defendants.

        We are hopeful we will be able to share the body-worn-camera footage to the defense

instance of evidence.com by September 17, 2021, and expect to produce it no later than September

24, 2021. 1

        We have uploaded approximately twenty percent of the relevant USCP surveillance

footage to our instance of evidence.com (i.e., in excess of one terabyte of video, consisting of about

140 cameras, 4,900 files, and 1,600 hours of footage). We are currently applying sensitivity

designations to these files. We expect to begin sharing them to the defense instance next week.

        FPD anticipates updating defense counsel with the status of their work to distribute and

track Axon licenses approximately one week after the first significant production of discovery is

loaded into the defense instance evidence.com platform.

                                             Relativity

       Deloitte Financial Advisory Services, LLP (“Deloitte”), our Relativity vendor, has

established a Capitol Breach defense Relativity workspace. We continue to work toward a

modification of our contract to fund the additional hosting and support of that database. Modifying

the Deloitte contract presents multiple contractual, technical, and legal challenges that were not

posed by the Axon contract but we are moving with as much haste as possible given the various




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 As elaborated in our August 23 Memo, we will also provide information we have developed
that will help facilitate defense review of the footage.
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complexities. We believe that by October, the contract modifications will be completed, thus

allowing for defense access to the Relativity database. To give the Court a sense of just some of

the challenges that we are addressing, they include formulating concrete plans describing the

staffing and technological safeguards that will be put into place to eliminate the possibility of work

product being shared from one workspace to another. We must also ensure the modification, which

must be fairly detailed under applicable government contracting rules and regulations, will be

sufficient to support hundreds of defense cases, and are working closely with FPD in support of

that effort. As this undertaking by FPD is also unprecedented, handling the contract modification

correctly takes time. FPD will work with Defender Service’s National Litigation Support Team

to create a structure for distributing and tracking Relativity licenses and anticipates updating

defense counsel with the status of their work approximately one week after the contract is modified

to provide access to FPD. Finally, we must ensure that in making available hundreds of thousands

of documents to hundreds of legal defense teams, we are careful to ensure that materials are

properly scoped pursuant to the terms of any applicable warrants, and that access to the database

is restricted in a manner that will ensure our compliance with applicable privacy laws. We are

currently consulting with Department of Justice experts in privacy and discovery to ensure that

these issues are properly handled.

       In the interim, as we stated in our August 23 Memo, we will continue to provide documents

from our Relativity database through productions in individual cases, and any productions we

make will also be added to the defense Relativity workspace.          On September 10, 2021, the

Discovery Team made available for production in all Capitol Breach cases approximately 850

pages consisting of redacted reports from USCP investigations of alleged wrongdoing by USCP

officers on January 6, 2021. We anticipate providing Metropolitan Police Department internal



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investigation reports (approximately 600 pages) by next week. We are still reviewing the ~30,000

files provided to us by USCP for production.

       As the Discovery Team receive documents, we cull them of any materials potentially

protected by Federal Rule of Criminal Procedure 6(e) and provide the remainder (a majority) to

Deloitte for ingestion into our Relativity database for discovery review. At this time, we have

provided Deloitte the following documents for ingestion into our Relativity database:

           •   Discovery productions (approximately 11,500 records) that have been made in
               complex Capitol Breach cases (e.g., multi-defendant conspiracies involving
               Oathkeepers and Proud Boys) (approximately 11,500 records); 2 and

           •   Approximately 24,000 Federal Bureau of Investigation records.

This week, we also expect to provide Deloitte discovery productions that have been made in 75

individual cases (approximately 32,000 documents). 3 As we have described in our prior discovery

status memos, the process of populating Relativity with potentially discoverable material is

complicated and takes time.

                                   Incarcerated Defendants
       In collaboration with FPD, we are developing proposals to increase access by incarcerated

defendants to voluminous materials, which we expect to share with the D.C. Department of

Corrections and to discuss within the next two weeks.




2
 Although these productions were already made in the relevant cases, they will ultimately be
made accessible to all Capitol Breach defendants through the defense Relativity workspace.
3
 Although these productions were already made in the relevant cases, they will ultimately be
made accessible to all Capitol Breach defendants through the defense Relativity workspace.
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                                                 Conclusion

             In sum, while we have not resolved every contractual or technical detail, and while our

      discovery plan continually evolves to address issues as they arise, we are making substantial

      progress in our diligent efforts to provide the defense comparable discovery review platforms for

      both documents and digital media, to populate those platforms, and to use alternative means to

      provide the most relevant discovery without delay. We are confident that our plan will come to

      fruition, and although we have not reached agreement on every aspect of this plan, we continue to

      have good faith, productive discussions with FPD regarding production of voluminous data. In

      the interim, we will diligently continue to transfer data to our vendors, process it for production,

      and make interim productions by other means until the defense platforms are in place. As we

      continue to implement our plan, we will continue to file status memoranda with the Court on a

      regular basis.

                                                    Respectfully submitted,

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                                                    DC Bar No. 415793



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